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   1                      IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
   2                                EASTERN DIVISION
   3
       NATHSON E. FIELDS,                       )
   4                                            )
                       Plaintiff,               )
   5                                            )
           -vs-                                 )   No.   10 C 01168
   6                                            )
       CITY OF CHICAGO, et al.,                 )   Chicago, Illinois
   7                                            )   March 6, 2012
                       Defendants.              )   9:30 a.m.
   8
   9                        TRANSCRIPT OF PROCEEDINGS
                      BEFORE THE HONORABLE MATTHEW F. KENNELLY
  10
  11    APPEARANCES:
  12 For the Plaintiff:                 LAW OFFICE OF H. CANDACE GORMAN
                                        BY: MS. H. CANDACE GORMAN
  13                                    220 South Halsted St., Suite 200
                                        Chicago, Illinois 60661
  14                                    312-427-2313
  15                                    MR. LEONARD C. GOODMAN
                                        53 West Jackson Blvd., Suite 1650
  16                                    Chicago, Illinois 60604
                                        312-986-1984
  17
  18 For Defendants                     COOK COUNTY STATE'S ATTORNEY,
     Wharrie and Kelley:                BY: MR. STEPHEN L. GARCIA
  19                                    500 Richard J. Daley Center
                                        Chicago, Illinois 60602
  20                                    312-603-5475
  21
        Court Reporter:
  22
                                 MARY C. KELLY, CSR
  23                           Contract Court Reporter
                            United States District Court
  24                   219 South Dearborn Street, Suite 2524-A
                              Chicago, Illinois 60604
  25                                (708) 769-0950
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   1    APPEARANCES CONTINUED:
   2
   3
     For Defendants                     DYKEMA GOSSETT PLLc
   4 City of Chicago:                   BY: MR. DANIEL MATTHEW NOLAND
                                        10 S. Wacker, Suite 2300
   5                                    Chicago, Illinois 60606
                                        312-627-2100
   6
       ALSO PRESENT:
   7
                                        MR. NATHSON FIELDS.
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   1               THE CLERK:     10 C 1168, Fields versus City.
   2               MS. GORMAN:      Good morning, Your Honor.         Candace
   3    Gorman for the plaintiff.
   4               MR. GOODMAN:      Leonard Goodman for the plaintiff.
   5               MR. GARCIA:      Good morning, Your Honor.         Stephen
   6    Garcia for the defendants Wharrie and Kelley.
   7               MR. NOLAND:      Good morning, Your Honor.         Dan Noland
   8    for the City defendants.
   9               MR. FIELDS:      Nathson Fields, plaintiff.
  10               THE COURT:     Okay.    So putting aside the Seventh
  11    Circuit decision for a second, what else is -- I know it's
  12    only been a month since you've been here, but what else has
  13    been happening in the last month?
  14               MS. GORMAN:      Your Honor, we've still been exchanging
  15    written discovery.       We have had a couple more depositions.
  16    Actually, the defendant has been taking the depositions.                  We
  17    have not started depositions yet because we're waiting for
  18    final discovery.
  19               THE COURT:     Who have you been deposing?
  20               MR. NOLAND:      I've been deposing several damages
  21    witnesses.
  22               THE COURT:     Oh, okay.
  23               MR. NOLAND:      Also, actually, one of the individuals
  24    who was -- initially was arrested and been charged for the
  25    case.
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   1               THE COURT:     Got it.     All right.
   2               MR. NOLAND:      And then one of the attorneys.          I
   3    actually took Mr. Stainthorp's deposition relative to a
   4    witness interview.       John Stainthorp of the People's Law
   5    Office.
   6               THE COURT:     He represented Mr. Field at some point?
   7               MR. NOLAND:      Yes, he did.
   8               THE COURT:     Okay.
   9               MR. NOLAND:      So I think there's -- I can't remember
  10    how many now.      I think it's approaching ten deps that we've
  11    taken so far, and there's a lot of work to do.
  12               THE COURT:     You still have a big boatload of them to
  13    do, obviously.      I know that.      So okay.
  14               I saw the status report that the plaintiff filed.
  15    I'm shifting gears now over to the question that's on the
  16    table following the Seventh Circuit decision and the
  17    interlocutory appeal.
  18               And, anyway, so with buts, what would you like to
  19    convey to me or would you like to file something?
  20               MR. GARCIA:      I would like to file something at this
  21    point, Your Honor.       I haven't actually seen the status reports
  22    that they filed, but I informed plaintiff's counsel that we
  23    are actually considering a petition for a hearing in the
  24    Seventh Circuit on the sovereignty issue at this point.
  25               THE COURT:     That's fine.      Everybody can petition for
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   1    rehearing, Petition For Cert and file something with the
   2    International Court of Justice and the Hague if you want to,
   3    and I'm moving ahead, okay?
   4               So I'm going to make a decision about this issue of
   5    whether I should sever the part of the case involving the
   6    state's attorney, the state law claims against Wharrie and
   7    Kelley, and to move ahead.         It's an old enough case already.
   8    I'm not going to put the whole case on pause.              We didn't do it
   9    before so.
  10               MR. GARCIA:      All right.     We would like to file
  11    something in writing, Judge.
  12               I believe the mandate from the Seventh Circuit would
  13    not issue until the 20th.         So if we can have a date after
  14    that?
  15               THE COURT:     Sure.
  16               MR. GARCIA:      About a week after that?
  17               THE COURT:     So we'll just call it -- we'll just -- so
  18    I'm going to take the plaintiff's status report as basically a
  19    request to not sever the case.          So any responses to the
  20    plaintiff's status report are to be filed by the 27th of
  21    March, and --
  22               MS. GORMAN:      Your Honor, if I can just add.          There
  23    were a few issues that we came up with that we would have
  24    liked to have added in here.
  25               THE COURT:     If you want to file something else,
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   1    that's fine.      Go ahead.    Go ahead and add to it, but that's
   2    still going to be way before the 27th of March.
   3               MS. GORMAN:      Okay.
   4               THE COURT:     So a couple of the things that I guess it
   5    would be helpful for people to comment on, and one of them, I
   6    think, is already included in the plaintiff's status report,
   7    is the question of if the cases were proceeding in two
   8    different venues, would there be overlapping discovery?
   9    That's, I think, something that the plaintiff included in
  10    that -- in his status report.          And then to what extent and is
  11    that a good idea, I suppose.
  12               And then, secondly, the opinion from the Seventh
  13    Circuit referred to the state law immunity issues.               I don't
  14    know if Judge Flaum used the word difficult, but it was
  15    something along those lines.          And, honestly, it's been quite a
  16    long time since I dealt with that aspect of the case, and I
  17    don't remember exactly what the issues are, but it would be
  18    helpful for me for you to tell me what's all that difficult.
  19    I don't know if they are.         I don't know if they aren't.
  20               And then the third thing is -- well, no, those are
  21    the two things, I guess.
  22               So I think I would like to have you back in about a
  23    month then.     So if you're going to file something.            So if
  24    there is any reply to the defendants' responses to the status
  25    report, that's to be filed by the 3rd of April, and then let's
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   1    set it for a status the week after that.
   2               THE CLERK:     April 10th.
   3               THE COURT:     At 9:30.
   4               MR. GARCIA:      That's fine, Judge.
   5               THE COURT:     Okey-doke.
   6               Anything else anybody needs to bring up?
   7               MS. GORMAN:      Just if I can clarify for us filing like
   8    a supplement to this?
   9               THE COURT:     Yes.     When do you want to do it?        Is a
  10    week enough?
  11               MS. GORMAN:      Yes.    A week is fine.
  12               THE COURT:     Okay.     So the plaintiff has until the
  13    13th of March to file a supplement to the status report.                  Then
  14    the response is the 27th.          The reply is the 3rd.       And you're
  15    coming in on the 10th.
  16               Okay.    Good.    Thanks a lot.
  17               THE CLERK:     Judge, I didn't get the date for the
  18    supplement.     A week from --
  19               THE COURT:     The plaintiff's supplement is due a week
  20    from today, the 13th.
  21       (Which were all the proceedings heard.)
  22                              CERTIFICATE
          I certify that the foregoing is a correct transcript from
  23    the record of proceedings in the above-entitled matter.
        /s/Mary C. Kelly                November 28, 2017
  24
  25    Mary C. Kelly                           November 28, 2017
        Contract Court Reporter (f)
